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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 BRIAN VUKADINOVICH,                            )
      Plaintiff,                                )
                                                )
                 v.                             )         CAUSE NO.: 2:22-CV-118-TLS-JEM
                                                )
 RICHARD A. POSNER,                             )
      Defendant.                                )

                                               ORDER

          This matter is before the Court on a Motion to Compel [DE 172], filed by Plaintiff Brian

 Vukadinovich, who is proceeding without counsel, on April 26, 2024. Plaintiff moves to compel

 Defendant to produce discovery. Defendant filed a response on May 10, 2024, and on May 14,

 202y, Plaintiff filed a reply.

     I.      Background

          On May 5, 2022, Plaintiff filed his Complaint alleging claims of breach of contract relating

 to an employment relationship he allegedly had with Defendant. A motion to dismiss was granted

 in part on September 25, 2023, but denied without prejudice as to the question of whether the

 statute of limitations bars some of Plaintiff’s claims. Discovery began on December 14, 2023, and

 was bifurcated, with discovery on applicability of statute of limitations and statute of frauds to

 begin first. Although Plaintiff objected to the bifurcation, short deadlines were set for the first

 phase of discovery to meet his request that the case proceed as rapidly as possible, with discovery

 on the first phase to be completed by June 12, 2024. At the parties’ request, the Court appointed a

 special master to assist the parties with electronic discovery. Plaintiff asserts that Defendant has

 failed to provide adequate discovery in response to his requests that he asserts are directly related

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 to the questions at issue in this first stage of discovery. Defendant argues that it has provided all

 relevant responses.

    II.      Analysis

          Federal Rule of Civil Procedure 26(b)(1) permits discovery “regarding any nonprivileged

 matter that is relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). Furthermore, the

 Rule provides that “[r]elevant information need not be admissible at the trial if the discovery

 appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.

 26(b)(1). Relevancy is “construed broadly to encompass any matter that bears on, or that

 reasonably could lead to other matter that could bear on, any issue that is or may be in the case.”

 Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978) (citing Hickman v. Taylor, 329 U.S.

 495, 501 (1947)). A party may seek an order to compel discovery when an opposing party fails to

 respond to discovery requests or provides evasive or incomplete responses. See Fed. R. Civ. P.

 37(a). A party objecting to the discovery request bears the burden of showing why the request is

 improper. See McGrath v. Everest Nat. Ins. Co., 625 F. Supp. 2d 660, 670 (N.D. Ind. 2008). The

 Court has broad discretion when deciding whether to compel discovery. See Patterson v. Avery

 Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002) (citing Packman v. Chi. Tribune Co., 267 F.3d

 628, 646-47 (7th Cir. 2001); Rennie v. Dalton, 3 F.3d 1100, 1110 (7th Cir. 1993)).

          Plaintiff is seeking additional responses to a number of requests. Defendant argues that it

 has produced all responsive documents relevant to the first phase of discovery.

          Plaintiff’s request one seeks documents that relate to Defendant’s affirmative defenses.

 Defendant asserts that he has produced documents relating to his statute of limitations, statute of

 frauds, and laches defenses, since they are directly related to the issues in the first stage of

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 discovery, and argues that documents bearing solely on the six other affirmative defenses

 (capacity, conscionability, equitable estoppel, ratification and waiver, failure of consideration, and

 breach) are not relevant in this phase. Plaintiff argues that documents responsive to the request

 might also be related to statute of frauds and Defendant’s statute of limitations defense, and argues

 that Defendant should be required to put forth evidence now in support of its defenses. However,

 documents that are not related to the discrete issues in the first phase of discovery need not be

 produced now. To the extent that Plaintiff is arguing that Defendant will need to rely on evidence

 it has not produced to support its dispositive motions at the close of the first phase of discovery,

 the Court reassures him that Defendant may only base its arguments on documents and information

 it has produced.

        Plaintiff’s request number two has to do with documents that related to a letter from an

 attorney to Plaintiff in response to a February 2022 demand letter Plaintiff sent to Defendant’s

 wife that refers to Defendant’s Alzheimer’s diagnosis. Defendant argues that he has produced

 some information regarding the facts of Defendant’s diagnosis, as referred to in the letter, but that

 any other information is not relevant to phase one discovery. In particular, Defendant argues that

 details of Defendant’s disease other than those known by Plaintiff at the time are not relevant to

 the statute of limitations or statute of frauds, and that information about Defendant’s response in

 2022 does not bear on the purported 2018 contract. Plaintiff argues that all information about

 Defendant’s medical condition could be relevant and should be produced. Although more details

 about Defendant’s medical condition may end up being relevant as the case proceeds, at this stage

 of bifurcated discovery, the only issue is what Plaintiff knew about Defendant’s diagnosis, and

 additional medical information need not be provided.

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        Plaintiff is also seeking privileged information in his request for documents relating to

 statements by and to an attorney and work product created by the attorney in anticipation of

 litigation. Although he is correct that in a production of otherwise relevant documents, a privilege

 log is appropriate to delineate particular documents that are otherwise discoverable, see Fed. R.

 Civ. P. 26(b)(5)(A), in this case he is requesting an entire category of documents that, by their very

 nature, are protected by privilege and need not be produced. See Fed. R. Civ. P. 26(b)(1) (“Parties

 may obtain discovery regarding any nonprivileged matter . . .”); Upjohn Co. v. United States, 449

 U.S. 383, 401-02 (1981). These are not otherwise responsive documents that happen to include

 privileged information and therefore should be noted on a privilege log, but the request itself seeks

 information Plaintiff is not entitled to see, and therefore the Court will not compel any additional

 response, either in the form of documents or a privilege log.

        Request number three seeks Defendant’s medical records. Although the medical

 information known by Plaintiff during the time at issue is relevant, that is not what is being sought

 in this question. The rest of Defendant’s medical history is not relevant to phase one discovery.

        Request four seeks all contracts entered into by Defendant with anyone for a period of more

 than seven years and request five seeks all document of any type signed by Defendant over the

 same time period. Defendant argues that these requests are overbroad for the scope of the case, let

 alone for phase one discovery. The Court agrees that the requests have no apparent relationship to

 the claims and defenses in phase one. The extensive and overbroad requests are not “proportional

 to the needs of the case” at this or any other stage of discovery, and production would be unduly

 burdensome. Fed. R. Civ. P. 26(b)(1).

        Defendant has produced responsive documents and information relevant to the first phase

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 of discovery, and the Court will not compel any additional responses. The Court finds that the

 motion to compel was made in good faith, and that in this instance the circumstances make the

 payment of expenses unjust. Fed. R. Civ. P. 37(a)(5)(B).

       III.      Conclusion

              For the foregoing reasons, the Court hereby DENIES the Motion to Compel [DE 172].

              SO ORDERED this 24th day of May, 2024.

                                                s/ John E. Martin________________________
                                                MAGISTRATE JUDGE JOHN E. MARTIN
                                                UNITED STATES DISTRICT COURT
 cc:          All counsel of record
              Plaintiff, pro se




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